












NUMBER 13-06-282-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


                                                                                                                      


THE CADLE COMPANY AND

CADLEWAY PROPERTIES, INC.,				        Appellants,


v.



MARY ESTER ORTIZ AND 

DAVID ORTIZ,	 							        Appellee.

                                                                                                                                      


On appeal from the 24th District Court of Calhoun County, Texas.


                                                                                                                      


DISSENTING OPINION



Before Justices Yañez, Rodriguez, and Benavides


Dissenting Opinion by Justice Yañez


									

	The majority holds that:  (1) the mechanic's lien asserted by Cadle is invalid
because it was signed only by Ms. Ortiz, not by Mr. Ortiz, as required by the Texas
Constitution; and (2) because Cadle failed to defeat Mr. Ortiz's homestead claim, the
foreclosure was wrongful.  I conclude that because Ms. Ortiz's misrepresentations created
the facts supporting the argument that the lien is invalid, the Ortizes are estopped from
denying the validity of the lien.  Accordingly, I respectfully dissent.

Standard of Review and Applicable Law


	The majority has correctly stated the applicable standard of review.  Cadle asserted
the affirmative defense that the Ortizes were estopped from denying the validity of the lien
because Ms. Ortiz intentionally misrepresented that she was the sole owner of the home. 
Thus, Cadle had the burden to prove that the Ortizes were estopped from denying the
validity of the lien. (1)  The ultimate issue of whether Cadle had a valid lien on the property
owned by the Ortizes in light of the asserted homestead status is a question of law. (2)

	"Texas law recognizes two different mechanic's liens:  the statutory mechanic's lien
and the constitutional mechanic's lien." (3)  "It is well-settled that neither a constitutional lien
nor a statutory mechanic's lien may be enforced against a homestead unless a written
contract for the work and material to be supplied is signed by all owners prior to the work
commencing and is recorded." (4)  The issue in the present case is the absence of Mr. Ortiz's
signature on the written contract, a requirement for both a constitutional and statutory lien. (5) 
Thus, it is unnecessary to determine whether the lien is a constitutional or statutory
mechanic's lien.  

	The doctrine of equitable estoppel or estoppel in pais is grounded on the condition
that justice forbids one to gainsay his own acts or assertions. (6)  "[T]he formal equitable
estoppel or estoppel in pais--arises when one is not permitted to disavow his conduct
which induced another to act detrimentally in reliance upon it." (7)  "[O]ne who by his conduct
has induced another to act in a particular manner should not be permitted to adopt an
inconsistent position and thereby cause loss or injury to the other." (8)  Thus, it is well settled
that estoppel may arise from conduct or from a failure to act. (9)  

	An assignee of notes and lien given upon a homestead (here, Cadle) may not
enforce them if it appears that the assignee knew, or had such notice as would put him
upon inquiry, which, if pursued, would have disclosed to him that the property was a
homestead. (10)

Analysis 


	The Ortizes argue that because Mr. Ortiz did not sign the contract, a proper lien did
not attach to the property and the foreclosure was therefore wrongful.  They also argue that
the Assumption Deed, which identifies only Ms. Ortiz as the purchaser of the property, is
not deceptive.  

	At the bench trial, Ms. Ortiz testified that at the time she purchased the property and
executed the Assumption Deed (February 24, 1994), she was married to Mr. Ortiz, and she
assumed that the property was community property. (11)  Ms. Ortiz testified that she
intentionally  listed herself as the sole owner of the property on the deed in order to avoid
losing the house due to potential back child support owed by Mr. Ortiz.  When asked if it
was her "intention to mislead the people of the State of Texas as to the true ownership so
[she] could avoid losing a house for potential back child support," Ms. Ortiz responded,
"Yes."	The "Credit Application for Property Improvement Loan" identifies the "applicant" as
Ms. Ortiz and states her marital status as "unmarried." (12)  The document bears Ms. Ortiz's
signature, directly below a statement that the applicant certifies the information in the
document as "true, accurate, and complete."  Another statement appears at the bottom of
the application, noting, "If this application is prepared by someone other than the
applicants, that person must sign below.  I certify that the statements made herein are
based upon information given to me by the applicants and are true, accurate and complete 
to the best of my knowledge and belief."  The form is signed by "Rose Gomez,"
representing National Home Services.  Ms. Ortiz testified that when she signed the
application, it had not been filled out.  She denied telling Dean Bostic, the National Home
Services salesman, that she was single.   

	The Contract for Labor and Materials and Trust Deed ("Trust Deed"), executed in
connection with the loan for the home improvements on June 13, 1996, identifies only Ms.
Ortiz as "Owner."  The Trust Deed was recorded in the real property records of Calhoun
County, Texas, on July 30, 1996.  The original holder of the Trust Deed was Statewide
Mortgage Company.  Statewide Mortgage Company assigned and transferred the Note
and Trust Deed to Green Country Bank; the assignment was recorded on August 27, 1996. 
On October 27, 1999, the successor to Green Country Bank assigned the Note and Trust
Deed to Cadle; the assignment was recorded on December 2, 1999.  Thus, Cadle
purchased the Note and Trust Deed from an intermediate purchaser more than three years
after the Trust Deed was recorded.        

	Cadle asserts it is an innocent purchaser that acquired rights to the lien without
knowledge of the deception perpetrated by the Ortizes. (13)  Cadle also asserts that it is
entitled to rely on the accuracy of real property records.  According to Cadle, because its
actions in purchasing the loan were induced by Ms. Ortiz's false representation that she
was the sole owner of the property, the Ortizes are estopped from challenging the validity
of the lien. 

	The record contains an "Assignment of Contract for Labor and Materials and Trust
Deed," which states that the successor to Green Country Bank transferred its interest in
the Trust Deed to Cadle, "an Ohio Corporation located at 100 North Center Street, Newton
Falls, Ohio" "for value received," effective September 30, 1999.  The record contains no
other evidence regarding the circumstances by which Cadle purchased the Trust Deed.

	The Texas Supreme Court has set out three categories in which a homestead
claimant would be estopped from claiming his homestead: 

(1) when the owners, not actually occupying the property, or so using it that
its status is dubious at the time the mortgage is executed, represent that it
is not their homestead; (2) when the owners create a lien by entering into a
simulated transaction which has all the outward appearance of a valid,
unconditional sale, but which is in fact a mortgage; (3) when the owners
represent that existing notes are valid mechanic's lien notes for
improvements, secured by a mechanic's lien contract properly executed. (14)


In Brown v. Bank of Galveston, Nat'l Ass'n, 963 S.W.2d 511, 515 (Tex. 1998), the Texas
Supreme Court also held that, "[w]hen an innocent third party relies upon the validity of a
lien that includes the parties' recitations that no labor or materials were furnished before
the execution of the contract, those parties are estopped from later contesting the validity
of the lien as a defense to foreclosure." (15)  Here, Cadle was an innocent third party that
relied on the validity of a lien that included Ms. Ortiz's recitation that she was the sole
owner of the property.

	I conclude there is sufficient evidence that Ms. Ortiz's false misrepresentations that
she was unmarried and the sole owner of the property induced Cadle to purchase the Trust
Deed from a subsequent purchaser three years after the Trust Deed was recorded in the
property records of Calhoun County.  Accordingly, I would hold that Ms. Ortiz is estopped
from challenging the validity of the lien.   

	The majority concludes that "[r]egardless of Cadle's ability to defeat Ms. Ortiz's
homestead exemption, it has shown nothing to defeat Mr. Ortiz's homestead exemption." 
I disagree.  Because estoppel may arise from conduct or a failure to act, (16) I conclude that

Mr. Ortiz is also estopped from challenging the validity of the lien.  At trial, Mr. Ortiz testifed
that he learned Ms. Ortiz had purchased the property solely in her name "[a]fter she had
done it."  He also testified that he knew (from Mr. Bostick) that he was supposed to sign
the Trust Deed, but he did not do so.  I conclude that because Mr. Ortiz admitted that he
failed to act when he knew he was required to, he is also estopped from challenging the
validity of the lien.  

	I would reverse the trial court's judgment and render judgment in favor of Cadle.  I
would also reverse the trial court's judgment awarding attorneys' fees to the Ortizes. 


                                                                                                                      

							LINDA REYNA YAÑEZ,

							Justice





Dissenting opinion delivered and filed 

this the 17th day of May, 2007. 
1.  See Tex. Farmers Ins. Co. v. Murphy, 996 S.W.2d 873, 879 (Tex. 1999) (noting that party asserting
affirmative defense of fraud had burden to plead, prove, and secure findings to sustain defensive plea of
fraud). 
2.  Florey v. Estate of McConnell, 212 S.W.3d 439, 445 (Tex. App.--Austin 2006, pet. denied).  
3.  Cavazos v. Munoz, 305 B.R. 661, 668 (Bankr. S.D. Tex. 2004) (citing Apex Financial Corp. v. Brown,
7 S.W.3d 820, 830  (Tex. App.--Texarkana 1999, no writ) ("[a] statutory lien exists through compliance with
the applicable statutes, while a constitutional lien arises by virtue of the Constitution without the aid of the
statutes.") (citations omitted)).  After reviewing the cases construing the constitutional and statutory provisions
pertaining to mechanic's liens, I agree with the observation of the Cavazos Court that "the body of case law
on such liens is not a model of clarity, and it is doubtful that all the germane cases could be reconciled."  Id.
at 668.
4.  Id. at 684 n.33.
5.  Tex. Const. art. XVI, § 50 (a)(5); Tex. Prop. Code Ann. § 53.254 (Vernon 2007).  Article 16, section
50 of the Constitution was amended in 1997, effective January 1, 1998, to add additional requirements, and
amended again in 2001, effective January 1, 2002.  Section 53.254 of the property code was also amended
in 1997, effective September 1, 1997.  See Act of May 31, 1997, 75th Leg., R.S., ch. 526, § 23, 1997 Tex.
Gen. Laws 1887.  The Contract for Labor and Materials and Trust Deed at issue in the present case was
executed on June 13, 1996, and is therefore governed by the law prior to the amendments.  However,
because the subsequent constitutional and statutory amendments are both inapplicable and irrelevant to my
analysis of the issues, it is unnecessary to  address them.  See Cavazos, 305 B.R. at 676-77 (explaining effect
of amendments).       
6.  Wallace v. McKinzie, 869 S.W.2d 592, 595 (Tex. App.--Amarillo 1993, writ denied) (quoting
Campbell v. Pirtle, 790 S.W.2d 372, 374 (Tex. App.--Amarillo 1990, writ denied)).
7.  Id. (quoting Campbell, 790 S.W.2d at 374).
8.  Id. (quoting Fabrique, Inc. v. Corman, 796 S.W.2d 790, 792 (Tex. App.--Dallas 1990, writ denied)).
9.  Id. (citing Clear Lake Dev. Corp. v. Blackstock, 450 S.W.2d 678, 684 (Tex. App.--Houston [14th
Dist.] 1970, writ ref'd n.r.e.)).
10.  Fest v. Williams, 89 S.W.2d 1072, 1074 (Tex. Civ. App.--San Antonio 1935, no writ)..
11.  Ms. Ortiz assumed correctly that because the property was purchased during her marriage to Mr.
Ortiz, it was community property, not separate property.  See Tex. Fam. Code Ann. § 3.002 (Vernon 2006)
("Community property consists of the property, other than separate property, acquired by either spouse during
marriage."); § 3.003(a) ("Property possessed by either spouse during or on dissolution of marriage is
presumed to be community property."); Panozzo v. Panozzo, 904 S.W.2d 780, 786 (Tex. App--Corpus Christi
1995, pet. denied) ("with a few exceptions, all property acquired during a marriage is presumed to be
community property."); Duncan v. United States, 247 F.2d 845, 849 (5th Cir. 1957) (noting that "[t]he
presumption that property purchased during the marriage is community property is very cogent, and can only
be repelled by clear and conclusive proof that it was with the individual money or property of one of the
partners."). 
12.  At the bench trial, twenty "agreed exhibits" were admitted into evidence.  The exhibits are included
in the record.  
13.  At the bench trial, the only two witnesses were Ms. Ortiz and Mr. Ortiz.  Although Cadle attempted
to present one witness, counsel for the Ortizes objected, and the witness did not testify.  Accordingly, Cadle
must rely solely on the Ortizes' testimony and the documents in the record to support its claim of estoppel.
14.  In re Niland, 825 F.2d 801, 809 (5th Cir. 1987) (quoting Lincoln v. Bennett, 138 Tex. 56, 59, 156
S.W.2d 504, 505 (Tex. 1941)).
15.  Brown v. Bank of Galveston, Nat'l Ass'n, 963 S.W.2d 511, 515 (Tex. 1998).
16.  McKinzie, 869 S.W.2d at 595.


